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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS



 IN RE: EpiPen (Epinephrine Injection, USP)             CASE NO. 2:17-MD-02785-DDC-TJJ
 Marketing, Sales Practices and Antitrust Litigation    (MDL No. 2785)




 SANOFI-AVENTIS U.S., LLC,                              CASE NO. 2:17-CV-02452-DDC-TJJ

                        Plaintiff,
           v.
 MYLAN INC., et al.,                                    ORAL ARGUMENT REQUESTED

                        Defendants.                     Document Filed Electronically

 This Document Relates to the Sanofi case.




                        MYLAN’S MOTION TO EXCLUDE
             OPINION TESTIMONY OF FIONA M. SCOTT MORTON, Ph.D.

       Pursuant to Rule 702 of the Federal Rules of Evidence, Defendant Mylan Inc. and

Defendant/Counterclaim-Plaintiff Mylan Specialty L.P. (collectively, “Mylan”) hereby move to

exclude from trial the opinion testimony of Plaintiff Sanofi-Aventis U.S. LLC’s (“Sanofi’s”)

expert Fiona M. Scott Morton, Ph.D, including any opinion testimony concerning: (1) pre-recall

damages; (2) post-recall damages; (3) “effective entrant burden”; (4) “entrenched share”; (5) her

view of Mylan’s intent or the parties’ state of mind, including without limitation her opinion about

Sanofi’s decision-making when it voluntarily decided to return its rights to Auvi-Q to Sanofi. The

points and authorities supporting this motion are set forth in the accompanying memorandum.
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Dated: June 28, 2019                     Respectfully submitted,


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                                 CERTIFICATE OF SERVICE

       On this 28th day of June, 2019, the foregoing document was electronically filed with the

Clerk of the Court using the CM/ECF system, which provides a notice of such filing on each

attorney registered for ECF notification to the counsel of record in this case.

                                                   Respectfully submitted,


                                                   s/ Philip A. Sechler
                                                   Philip A. Sechler

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